                THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:07-cr-00033-MR-DLH-3


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
     vs.                         )                ORDER
                                 )
                                 )
JEANNIE LARGENT COSBY,           )
                                 )
                   Defendant.    )
________________________________ )

         THIS MATTER is before the Court on the Defendant’s letter, which the

Court construes as a motion for early release. [Doc. 557].

         In her letter, the Defendant asks the Court to consider her for early

release. For grounds, the Defendant notes that “there are many new laws

being implemented that allow for early release” and she asks that the Court

“keep [her] in mind when these early release changes take effect.” [Doc. 557

at 1].

         Pursuant to 18 U.S.C. § 3582(c), the Court may reduce or modify a

sentence only: (1) upon motion of the Director of the Bureau of Prisons, if

certain extraordinary and compelling reasons so warrant; (2) under the

express authority of Rule 35 of the Rules of Criminal Procedure, which



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provides that the Court may correct a clear error in a sentence within 14 days

after sentencing or reduce a sentence upon motion by the Government for

the defendant's substantial assistance; or (3) when a defendant is sentenced

to a term of imprisonment based upon a sentencing range that was

subsequently lowered by the United States Sentencing Commission. See

18 U.S.C. § 3582(c). None of these circumstances are presented by the

current motion.

      If any change in the law occurs in the future, it will be incumbent upon

the Defendant to file a motion seeking relief pursuant to that new law.

      Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

letter [Doc. 557], which the Court construes as a motion for early release, is

DENIED.

      IT IS SO ORDERED.
                               Signed: November 2, 2015




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